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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     April 3, 2022

Via Email
Michael E. Lawlor
Nicholas G. Madiou
Brennan, McKenna & Lawlor, Chtd.
6305 Ivy Lane, Suite 700
Greenbelt, MD 20770
mlawlor@verizon.net
nickmadiou@gmail.com
Counsel for Zachary Jordan Alam

       Re:      United States v. Zachary Jordan Alam
                Case No. 1:21-cr-00190-DLF

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:
          1. SENSITIVE: 302 regarding text messages between defendant and witness
          2. Text messages between defendant and witness
          3. Materials from other Capitol investigations:
                 a. 302 from proffer with defendant AJ
                 b. Notes from proffer with defendant AJ
                 c. Statement of Offense for defendant AJ
          4. 302 from 2/24/2022 of interview with employee of House of
              Representatives
          5. Additional open-source video relating to Speakers Lobby (Benjamin
              Reports)
          6. Screenshots from Twitter relating to defendant (x5)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        These materials are subject to the Protective Order entered in this case. Please adhere to
sensitivity markings.
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        I will forward additional discovery as it becomes available. In the meantime, please let
me know if there are any categories of information that you believe are particularly relevant to
your client.

       If you have any questions, please feel free to contact me.

                                                     Sincerely,



                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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